Case 8:24-cr-00211-TDC Document 62 Filed 12/13/24 Pageiofi1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
v. CASE NO: 8:24cr211
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Defendant.
DEC 13 2024
AT GREENBELT
CLERK, US bIS™RICT COURT
DISTRICT OF wIARYLAND
BY oS ee DEPUTY
GOVERNMENT?’S EXHIBIT LIST
GX | Identification} Admitted Description

l August 23, 2021 Weeks Email to J. Weitz and A. Kaminska

2 12/13/2024 12/13/2024  |August 23, 2021 Weeks Email to A. Tyler (cc-ing others)

3 12/13/2024 | 12/13/2024 —_ | August 23, 2021 Grand Jury Subpoena

4 12/13/2024 12/13/2024 —|September 9, 2021 Search Warrant

5 12/13/2024 12/13/2024 —|Photo of Residence (SWC-0012)

6 12/13/2024 12/13/2024 Photo of Residence (SWC-0013)

7 12/13/2024 12/13/2024 Photo of Residence (SWC-001 8)

8 12/13/2024 12/13/2024 September 9, 2021 Video of Text Messages

9 August 23, 2021 Interview Report
10 August 24, 2021 Interview Report
11 August 24, 2021 Interview Report
12 August 26, 2021 Interview Report
13 August 30, 2021 Interview Report
14 August 31, 2021 Interview Report
15 August 31, 2021 Interview Report
16 September 1, 2021 Interview Report
17 September 9, 2021 Interview Report

18 September 3, 2021 Phone Call Recording

